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UNITED STATES DISTRICT COURT                    Avalanche, and a 2002 Cadillac Deville.
SOUTHERN DISTRICT OF GEORGIA                    See Doc. 806 at 10-12.
    STATESBORO DIVISION
                                                    Six months after he was sentenced,
UNITED STATES OF AMERICA,                       McCullough filed a “Motion for Dismissal
                                                of Forfeiture Claim or, in the Alternative,
v.                    6:09-cr-48-1              Motion for Evidentiary Hearing.” See Doc.
                                                934. Defendant argues that because his
LAWRENCE HUGH MCCULLOUGH,                       2010 plea agreement did not list the Cadillac
JR., a.k.a. “HUGHY,”
                                                Escalade, the government breached his plea
                  ORDER                         agreement when it seized and sold that
                                                vehicle in July 2009. See Doc. 934 at 7-10.
     I. BACKGROUND
                                                    The Government responded on May 26,
    On March 19, 2009, Drug Enforcement         2011. McCullough has filed a motion for a
Administration (“DEA”) agents executed a        thirty day extension of the time allowed to
search warrant at Lawrence Hugh                 reply to the government’s response to his
McCullough, Jr.’s (“Defendant”) residence,      motion. See Doc. 937.
seized a 2002 Cadillac Escalade, among
other assets, and began forfeiture                 II. EXTENSION OF TIME
proceedings. See Doc. 936 at 5. The DEA             The Magistrate Judge’s scheduling order
sent Defendant a forfeiture notice on April     in this case allows the government 10 days
16, 2009. See Doc. 936-1 at 3. This notice      to respond to any defense motion, but does
warned that any claim contesting forfeiture     not provide Defendant any right to reply.
was due by May 21, 2009. See id.                See Doc. 216. Neither the Local Rules, nor
Defendant contested forfeiture five days late   the Federal Rules of Criminal Procedure
on May 26, 2009. See Doc. 936. As a             provide such a right either. Moreover,
result, the vehicle was administratively        Defendant waited two weeks to notify the
forfeited on July 8, 2009. See Doc. 936-2.      Court of any intention to reply. Defendant’s
    Defendant and thirty-three associates       motion for a thirty day extension to reply,
were indicted on June 4, 2009. See Doc. 1.      see Doc. 937, is DENIED.
Defendant pled guilty a year later to              III. FORFEITURE
conspiracy to possess with intent to
                                                    If an individual fails to timely contest an
distribute, and to distribute, crack, powder
                                                administrative forfeiture, he may not later
cocaine, marijuana, and ecstasy on June 8,
                                                contest it on the merits. See 21 C.F.R.
2010. See Doc. 650. On that same date, and
                                                § 1316.80; Mesa Valderrama v. United
eleven months after his 2002 Cadillac
                                                States, 417 F.3d 1189, 1195 (11th Cir.
Escalade was forfeited, Defendant executed
                                                2005). The only avenue still available to
a plea agreement with the government. See
                                                Defendant to contest the July 2009 forfeiture
Doc. 806. Defendant agreed inter alia to the
                                                is an 18 U.S.C. § 983(e) motion to set aside
forfeiture of $55,000, a 2002 BMW 745i, a
                                                the forfeiture due to insufficient notice.
1994 Ford Mustang, a 2005 Chevrolet
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    But Defendant does not claim that the            Evidentiary Hearing,” see Doc. 934, is
government failed to provide sufficient              DENIED.
notice, see Doc. 934, and any claim would
be unavailing due to the government’s
demonstrated service on three addresses and          This 20th day of June 2011.
Defendant’s actual notice of the forfeiture as
shown by his belated attempt to contest it.
See Mesa, 417 F.3d at 1196-97 (“The notice
                                                     SR- 8 6'L E- ;41aI ^ L, 4 -/1//1-
                                                        AVANT DENFIELØ+JTJDGE
necessary to satisfy due process requires             UNFED STATES DISTRICT COURT
only that interested persons be given notice          SOUTHERN DISTRICT OF GEORGIA
reasonably calculated, under all the
circumstances, to apprise interested parties
of the pendency of the action and afford
them an opportunity to present their
objections.”) (internal quotation omitted);
see also Docs. 936, 936-1.
   Defendant’s “Motion for Dismissal of
Forfeiture Claim,” see Doc. 934, is
DENIED.
   IV. PLEA AGREEMENT BREACH
   Defendant also alleges that the
government’s July 2009 forfeiture of his
Cadillac Escalade breached the parties’ June
2010 plea agreement. See Doc. 934.
    Defendant argues that because the
government did not include his 2002
Cadillac Escalade on the list of agreed
forfeitures in his plea agreement, see Doc.
806 at 12, it breached the deal by not
seeking to reverse the forfeiture and sale of
the vehicle that occurred almost a year prior.
See Doc. 934. But Defendant does not
allege that the government ever promised to
attempt to re-acquire the vehicle for him, nor
does the plea deal indicate any such
agreement. See Docs. 806, 934.
   The Defendant has not plausibly plead a
government breach of the plea agreement.
Defendant’s “Alternative Motion for
                                                 2
